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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

 HILDA BRUCKER; JEFFERY                    )
 THORNTON; JANICE CRAIG; and               )
 BYRON BILLINGLSEY,                        )
                                           )
              Plaintiffs,                  )
                                           )         CIVIL ACTION NO.
 v.                                        )         1:18-cv-02375-RWS
                                           )
 CITY OF DORAVILLE, a Georgia              )
 municipal corporation,                    )
                                           )
              Defendant.                   )

         DEFENDANT CITY OF DORAVILLE’S BRIEF IN REPLY TO
         PLAINTIFFS’ OPPOSITION TO ITS MOTION TO DISMISS

      The present brief is offered on behalf of the defendant herein, the City of

Doraville, Georgia, in further support of its motion to dismiss filed pursuant to

Rules 12(b)(1) and 12(b)(6) of the FEDERAL RULES OF CIVIL PROCEDURE and in reply

to the responsive brief submitted by plaintiffs herein in opposition thereto.

Plaintiffs’ responsive brief offers little more than a rote recitation of the conclusory

allegations asserted in the complaint, and presents no logical reasoning or legal

arguments to withstand dismissal pursuant to Doraville’s present motion for lack

of subject matter jurisdiction and failure to state a claim.
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I.    INTRODUCTION

      In the above-captioned federal action, plaintiffs exclusively challenge and

seek to enjoin Doraville’s policies and practices related to the manner by which its

city council prepares and balances the city’s annual budget to account for revenue

generated by municipal court fines and fees. According to plaintiffs,

“municipalities that budget to receive fines and forfeitures revenue” are “using, or

appearing to use, their municipal courts, prosecutors, police, and code enforcement

officers to generate revenue.” 1 Thus, plaintiffs allege that Doraville’s challenged

budgetary policies, in and of themselves, cause individual non-party government

actors — Doraville code enforcement officers, law enforcement officers,

prosecutors, and municipal court judges — to unconstitutionally ticket, prosecute,

convict, and ultimately impose sentences requiring plaintiffs and/or any other

member of the Doraville public to pay monetary fines and fees for violating valid

local ordinances and/or state laws “in order to generate revenue” and meet the

city council’s budgetary expectations. 2




      1 (Doc. 1, ¶ 6) (emphasis added).
      2 (Doc. 20, pp. 10, 16) (citing Compl. ¶¶ 155–78) (“Plaintiffs’ argument on

the merits is that Doraville relies upon code and traffic enforcement fines to
balance its budget, and therefore there is an impermissible bias in the adjudication
and prosecution of those violations.”).

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      In fact, the budgeting policies and practices challenged by plaintiffs in their

complaint are expressly governed by Georgia law. Thus, all fines and fees imposed

in municipal court for state law traffic offenses, following payment of costs, “shall

be paid into the treasury of the municipality where the court is located” by the

fifteenth of each month. 3 Doraville’s city council is statutorily required to budget

for revenue it anticipates receiving from each source when preparing the city’s

annual budget each year, which necessarily includes revenue it receives from the

municipal court, and to thereafter balance said budget by necessarily “relying” on

the revenue it actually receives from the municipal court each month. 4 Because

plaintiffs are challenging Doraville’s performance of quintessential executive

functions of local governments regarding municipal finances, the city’s actions in

this regard are governed by valid and unchallenged statutes and the resolution of



      3  O.C.G.A. § 40-13-26(a). Moreover, if any party charged with such offense
requests that the case be bound over to the DeKalb County probate or superior
court, the city receives no portion of the fines and fees imposed therein. Id.
       4 O.C.G.A. § 36-81-5(b) (“The budget document, at a minimum, shall

provide, for the appropriate budget period, a statement of the amount budgeted
for anticipated revenues by source and the amount budgeted for expenditures at
the legal level of control.”); O.C.G.A. § 36-81-3(b)(1) (“Each unit of local
government shall adopt and operate under an annual balanced budget for the
general fund.”); O.C.G.A. § 36-81-3(b)(3) (“A budget ordinance or resolution is
balanced when the sum of estimated revenues and appropriated fund balances is
equal to appropriations.”).


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such policy issues are properly left to the state legislature, not federal courts. 5

Simply put, plaintiffs failed to demonstrate any logical reasoning or argument to

preclude dismissal of their complaint as set forth more fully in Doraville’s original

memorandum of law filed in support of its motion to dismiss.

      First, plaintiffs failed to demonstrate that they suffered any actual or

particularized injury or violation of their personal, federal rights (as contrasted

with a common, public injury), or that they face some imminent and immediate

threat of future harm (as contrasted with a merely speculative and hypothetical

threat of possible future injury). Thus, no justiciable case or controversy has been

presented for this Court to assume subject matter jurisdiction in this case under

Article III. Second, plaintiffs’ claims are foreclosed by the Rooker-Feldman doctrine,

a jurisdictional rule which precludes federal courts from reviewing cases brought,

as here, by state-court losers complaining of state-court judgments with which

they disagree. Third, because plaintiffs offer nothing more than impermissible and

classic conclusory boilerplate allegations with no facts alleged in support thereof,

they failed to plead a plausible claim for declaratory and injunctive relief under

the Fourteenth Amendment or any other federal right.



      5 See Public Citizen, Inc. v. Bomer, 115 F. Supp. 2d 743, 746 (W.D.Tex., 2000),
affirmed by, Public Citizen, Inc. v. Bomer, 274 F.3d 212, 216 (5th Cir. 2001)

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II.   ARGUMENT AND CITATION TO AUTHORITY

      A. Plaintiffs lack standing
      To properly allege an injury-in-fact necessary for standing under Article III,

plaintiffs must plausibly assert that they “suffered an invasion of a legally

protected interest that is concrete and particularized and actual or imminent, not

conjectural or hypothetical.” 6 As explained by the Eleventh Circuit, “[i]t is the role

of courts to provide relief to claimants, in individual or class actions, who have

suffered, or will imminently suffer, actual harm; it is not the role of courts, but that

of the political branches, to shape the institutions of government in such fashion

as to comply with the laws and the Constitution.” 7 Thus, “[i]t is not enough that

the [plaintiff]'s complaint sets forth facts from which [a court] could imagine an

injury sufficient to satisfy Article III's standing requirements. Indeed, [courts]

should not speculate concerning the existence of standing .... If the plaintiff fails to

meet its burden, this court lacks the power to create jurisdiction by embellishing a



      6  Burdick v. Kennedy, 700 F. App'x 984, 986 (11th Cir. 2017) (internal quotation
marks and citation omitted); Elend v. Basham, 471 F.3d 1199, 1207 (11th Cir. 2006).
       7 Lewis v. Casey, 116 S.Ct. 2174, 2179 (1996); Bomer, 274 F.3d at 218 (affirming

dismissal of action for lack of injury to support standing in action wherein
plaintiffs were “simply challenging the system” which allowed for judicial
financial contributions to judges for lack of standing) (citing other applicable
cases).


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deficient allegation of injury.” 8 The complaint should be dismissed because

plaintiffs have not and cannot meet their burden in this regard.

             1) Plaintiffs fail to demonstrate that they have suffered any actual or
                concrete injury in fact.

       The only injury alleged by plaintiffs as a result of Doraville’s challenged

budgeting practices is an entirely abstract and theoretical injury — past and future

exposure to “prosecution and adjudication that does not provide due process” in

a municipal court system infected with an alleged bias or an “appearance of” such

bias — which is woefully insufficient to demonstrate that plaintiffs have suffered

an “actual” or “concrete” injury in fact. 9 Plaintiffs allege no specific instances of

misconduct with respect to any particular government actors in connection with

any past or future municipal court proceedings. 10 Critically, they neither challenge

the lawfulness of the ordinances and traffic laws with which they were charged

and in fact, do not dispute that they were in fact guilty of such violations.



       8 DiMaio v. Democratic Nat. Comm., 520 F.3d 1299, 1301 (11th Cir. 2008)
(quoting Elend, 471 F.3d at 1205-06).
       9 (Doc. 20, p. 16); Public Citizen, Inc. v. Bomer, 274 F.3d 212, 216 (5th Cir. 2001)

(plaintiffs failed to plead injury in fact because “no actual impropriety or a specific
instance of an appearance of impropriety [was] alleged”).
       10
          City of Los Angeles v. Lyons, 461 U.S. 95, 123, n. 13 (1983) (noting that in
O’Shea v. Littleton, no “specific instances” of misconduct was alleged against
judicial officers and that the Court “referred to the absence of past injury
repeatedly”).

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      As an initial matter, plaintiffs’ threatened exposure to future prosecution for

violating valid local ordinances or state traffic laws is not a legally cognizable

injury. A “legally cognizable injury requires infringement of an interest protected

by statute or otherwise. That interest must consist of obtaining compensation for,

or preventing, the violation of a legally protected right. Indeed, standing requires

personal injury suffered by [a party] as a consequence of the alleged constitutional

error, other than the psychological consequence presumably produced by

observation of conduct with which one disagrees.” 11 Plaintiffs allege no threat of

future tickets or prosecutions unless, like any other Doraville resident or driver,

they violate a valid and unchallenged state traffic law or local city ordinance while

present within the city limits. Plaintiffs cannot seriously argue that they have any

legally protected right to violate entirely valid local ordinances or state traffic laws

and avoid prosecution for same.




      11  Burdick, 700 F. App'x at 986 (internal quotation marks and citations
omitted); Lyons, 461 U.S. at 101–02 (emphasis added) (“[T]he injury or threat of
injury must be both ‘real and immediate,’ not ‘conjectural’ or ‘hypothetical.’”); Pub.
Citizen, Inc., 274 F.3d at 218 (“Neither the mere fact of Plaintiffs' past appearances
in Texas state courts nor their allegations of hypothetical future litigation support
finding the ‘actual or imminent’ injury required by Article III.”).


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      Moreover, it is well-established that an injury in fact must be “concrete and

particularized,” i.e., “real, and not abstract.” 12 Other than an entirely abstract and

institutional per se financial bias which allegedly infects or “appears to” infect the

entire municipal court system and all prosecutors and judges involved in the

proceedings therein, plaintiffs can point to no “particularized” or “concrete”

injury they suffered in connection with their past or possible future municipal

court proceedings arising out of Doraville’s challenged budgetary policies. Given

plaintiffs’ failure to demonstrate that they suffered any concrete and legally

cognizable injury in fact, as required by Article III, they fail to demonstrate

standing to pursue their claims.

           2) No imminent or impending plausible threat of future injury.

      Contrary to plaintiffs’ efforts to conflate the issue, to demonstrate standing

for injunctive and declaratory relief, plaintiffs must demonstrate that their alleged

threat of future prosecution is “imminent” and “certainly impending.” 13 “For an



      12 Burdick, 700 F. App'x at 986; Elend, 471 F.3d at 1205-06.
      13  Burdick, 700 F. App'x at 986 (quoting Am. Civil Liberties Union of Fla. v.
Miami-Dade County School Bd., 557 F.3d 1177, 1193 (11th Cir. 2009)); Clapper v.
Amnesty Intern. USA, 568 U.S. 398, 409 (2013). In contrast, in cases involving pre-
enforcement challenges to a statute, the injury-in-fact requirement is satisfied if a
plaintiff alleges a “credible threat of prosecution” for “engag[ing] in a course of
conduct arguably affected with a constitutional interest” in violation of the


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injury to be ‘imminent,’ ‘the anticipated injury [must] occur with[in] some fixed

period of time in the future.’” 14

      Plaintiffs’ own allegations in their complaint confirm that no such

imminent, immediate, or certainly impending threat of future injury exists.

Despite alleging the continued existence of local ordinance violations on Brucker’s

property since October 2016, Brucker has never been cited or prosecuted for these

violations during this almost two-year period. 15 Plaintiffs simply allege in rote

and conclusory fashion that there exists an “imminent” and “immediate” threat of

future prosecution because a code enforcement officer “could drive by Brucker’s

house, see these same conditions and, issue a ticket” at any point, which amount

to nothing more than impermissible boilerplate allegations.

      Plaintiffs only vaguely speculate that they are subject to possible future

prosecution “some day” in the future, with no “specification of when the some




challenged statute. Susan B. Anthony List v. Driehaus, 134 S. Ct. 2334, 2342 (2014);
GeorgiaCarry.org v. Georgia, 687 F.3d 1244 (11th Cir. 2012). No such pre-
enforcement statutory challenges are asserted in the instant action.
       14 Burdick, 700 F. App'x at 986 (internal citation omitted).
       15 (Doc. 20, p. 18) (“[T]here is no indication that [Brucker’s] property is any

less in violation now than it was at the time she was prosecuted [in October
2016].”).


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day will be.” 16 Indeed, the prospect of future injury alleged in the complaint is

entirely contingent on whether, after violating a valid law or ordinance, plaintiffs

“are charged, held to answer, and tried in any proceedings before [the municipal

court.” 17 Plaintiffs’ allegations of such a remote and speculative threat of future

prosecution do nothing to demonstrate any “imminent” or “certainly impending”

threat and, thus, are woefully insufficient to establish the requisite injury in fact

necessary to support standing. 18




      16  Am. Civil Liberties Union of Fla., Inc. v. Miami-Dade Cty. Sch. Bd., 557 F.3d
1177, 1193–94 (11th Cir. 2009); Malowney v. Federal Collection Deposit Group, 193 F.3d
1342, 1347 (11th Cir. 1999) (“There must be a substantial likelihood that the
plaintiff will suffer future injury: a “perhaps” or “maybe” chance is not enough.”).
       17 Lyons, 461 U.S. at 102–03; O'Shea, 414 U.S. at 497 (“[W]e can only speculate

whether respondents will be arrested, either again or for the first time, for violating
a municipal ordinance or a state statute, particularly in the absence of any
allegations that unconstitutional criminal statutes are being employed to deter
constitutionally protected conduct.”); Clapper v. Amnesty Int'l USA, 568 U.S. 398,
414 (2013) (“We decline to abandon our usual reluctance to endorse standing
theories that rest on speculation about the decisions of independent actors.”).
       18 Lyons, 461 U.S. at 102–03; O'Shea v. Littleton, 414 U.S. 488, 497 (1974) (“The

nature of respondents' activities is not described in detail and no specific threats
are alleged to have been made against them.”); Am. Civil Liberties Union of Fla., Inc.,
557 F.3d 1177, 1193–94 (11th Cir. 2009); Elend, 471 F.3d at 1206–07; Burdick, 700 F.
App'x at 986.


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           3) Plaintiffs assert merely generalized          grievances     which    are
              insufficient to confer standing.

      In addition to Article III’s constitutional limitations, prudential concerns

further require that plaintiffs demonstrate “a personal stake in the outcome,

distinct from a generally available grievance about government” to establish

standing. 19 Plaintiffs make no effort to identify any particularized harm they have

or will suffer as a result of Doraville’s financial budgeting practices which is

distinguishable from that of every other Doraville citizen who owns property in

the city or any person who drives a vehicle within Doraville’s city limits and who

violates a local city ordinance or state traffic law in connection therewith. In this

regard, plaintiffs note in their response brief that their claims are premised on

allegations that Doraville’s challenged budgeting policies violate “the due process

rights of all who may be prosecuted and convicted in Doraville’s municipal courts,”

which rights and interests are indistinguishable from plaintiffs. 20 It is nowhere

alleged that any of the named plaintiffs, or any of the other third parties whose




      19 Gill v. Whitford, 138 S. Ct. 1916, 1923 (2018) (quoting Hollingsworth v. Perry,
570 U.S. 693, 700 (2013)) (“That threshold requirement ‘ensures that [judges] act as
judges, and do not engage in policymaking properly left to elected
representatives.”).
      20 (Doc. 20, p. 10) (emphasis added).


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interests they seek to protect, have ever been charged, convicted or paid fines for

violating an invalid city ordinance or state traffic law.

      Contrary to plaintiffs’ assertions to the contrary, the dispositive inquiry is

not whether plaintiffs have sufficiently alleged that they have been personally

injured, but whether plaintiffs’ alleged injuries are “shared in substantially equal

measure by all or a large class of citizens.” 21 For example, in Hollingsworth, the

plaintiffs were a class of same-sex couples who wanted to marry, but were

prevented from doing so due to the enforcement of state laws prohibiting same,

and thereafter filed a federal action challenging those laws. Although the

Hollingsworth plaintiffs clearly had a personal interest in enjoining the enforcement

of laws that prevented them from marrying, because their injury was not




      21  (Doc. 20, p. 23); Warth v. Seldin, 422 U.S. 490, 499 (1975); Pub. Citizen, Inc.,
274 F.3d at 219 (“To the contrary, and no matter how well intended, Plaintiffs have
done little more than present a generalized grievance, common to all citizens or
litigants in Texas, and as such, lack standing.”) (relying on Arizonans for Official
English v. Arizona, 520 U.S. 43, 64 (1997) (“An interest shared generally with the
public at large in the proper application of the Constitution and laws will not
[create standing].”); Lujan, 504 U.S. at 573–74 (“We have consistently held that a
plaintiff raising only a generally available grievance about government—claiming
only harm to his and every citizen's interest in proper application of the
Constitution and laws, and seeking relief [that] no more directly and tangibly
benefits him than it does the public at large—does not state an Article III case or
controversy.”)).


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“distinguishable from the general interest of every California citizen,” the

Supreme Court held that the plaintiffs’ claims were nothing more than generalized

grievances which were insufficient to confer standing under Article III. 22 As was

the case in Hollingsworth, because plaintiffs‘ interest in enjoining Doraville’s

governmental practices related to its finances and budgeting is shared by, at a

minimum, all citizens who own property in Doraville and all persons who drive

automobiles in Doraville, their claims are merely generalized grievances regarding

governmental action which are insufficient to confer standing.

      B. Rooker-Feldman precludes plaintiffs’ federal claims

      In addition to their failure to establish standing, the Rooker–Feldman doctrine

“places limits on the subject-matter jurisdiction of federal district courts and courts

of appeal over certain matters related to previous state court litigation,” and

further precludes plaintiffs’ claims. 23 “A district court engages in impermissible

appellate review when it entertains a claim that the litigants did not argue in the

state court, but is inextricably intertwined with the state court judgment.” 24 “A




      22 Hollingsworth, 570 U.S. at 694.
      23 Gogola v. Zingale, 141 Fed. Appx. 839, 842 (11th Cir. 2005); Rooker v. Fidelity
Trust Co., 263 U.S. 413 (1923); District of Columbia v. Feldman, 460 U.S. 462 (1983).
      24 Woodhull v. Mascarella, 699 F. App'x 872, 875 (11th Cir. 2017).




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claim is ‘inextricably intertwined’ if it would ‘effectively nullify’ the state court

judgment, or [if] it ‘succeeds only to the extent that the state court wrongly decided

the issues.’” 25

       Plaintiffs do not dispute that their federal claims for injunctive and

declaratory relief can succeed only to the extent this Court finds that, as a result of

Doraville’s challenged budgeting practices, plaintiffs were unlawfully charged,

prosecuted, convicted, and sentenced to pay a monetary fine by financially-

interested code enforcement officials, police officers, prosecutors and municipal

court judges, without due process of law in violation of the Fourteenth

Amendment. 26 Because success on plaintiffs’ federal claims would “effectively

nullify” their prior state court judgments, their federal claims are “inextricably

intertwined” with the same and are thus barred by Rooker-Feldman. 27

       Without making any effort to demonstrate otherwise, plaintiffs instead

blindly assert that Rooker-Feldman does not bar their claims because they are “not

seeking to overturn their prior convictions or to have their fines returned.” 28 As



       25 May v. Morgan Cty. Georgia, 878 F.3d 1001, 1005 (11th Cir. 2017) (internal
quotation marks and citation omitted).
      26 See id.
      27 See Teagan v. City of McDonough, No. 1:15-cv-00607-ELR, Doc. 96 (N.D. Ga.

Mar. 7, 2018).
      28
         (Doc. 20, p. 26).

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explained by the Eleventh Circuit, “[t]hough the federal case may not be styled as

an appeal of a state court judgment, Rooker-Feldman is not so easily bypassed. A

claim that at its heart challenges the state court decision itself—and not the statute

or law which underlies that decision—falls within the doctrine because it

‘complain[s] of injuries caused by state-court judgments’ and ‘invite[s] ... review

and rejection of those judgments.’” 29

      Moreover, plaintiffs’ assertion that Rooker-Feldman is inapplicable because

they “could not have sought prospective injunctive relief” in their respective

municipal court cases, is directly contrary to Eleventh Circuit precedent and

should be disregarded by this Court. 30 To determine whether Rooker-Feldman




      29  May, 878 F.3d at 1005; Mickens v. Tenth Judicial Circuit, 181 Fed. Appx. 865,
874 (11th Cir. 2006) (“[B]y raising constitutional and tort challenges relating to
their eviction from the property, in essence, were attempting to reverse the state
court's orders relating to ownership of the property in question”); Gogola v. Zingale,
141 Fed. Appx. 839, 842 (11th Cir. 2005) (“[B]y challenging the constitutionality of
the alimony statute, in essence, was attempting to reverse the state court's order
regarding the payment of alimony”).
       30 (Doc. 20, p. 26). Contrary to plaintiffs’ mischaracterizations otherwise,

Exxon Mobil involved application of Rooker-Feldman in a federal case involving
parallel state court proceedings and is thus wholly inapplicable to the instant case
wherein no such parallel state court proceedings are at issue. Exxon Mobil Corp. v.
Saudi Basic Indus. Corp., 544 U.S. 280, 293, 125 S. Ct. 1517, 1527, 161 L. Ed. 2d 454
(2005) (“This case surely is not the paradigm situation in which Rooker–Feldman
precludes a federal district court from proceeding.”).


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applies, “the type of relief sought by the plaintiff” is neither relevant nor

dispositive. 31   Instead, the Eleventh Circuit “focus[es] on the federal claim's

relationship to the issues involved in the state court proceeding,” and applies

Rooker-Feldman to “bar all federal claims which were, or should have been, central

to the state court decision, even if those claims seek a form of relief that might not

have been available from the state court.” 32 Thus, “a state court loser cannot avoid

Rooker-Feldman's bar by cleverly cloaking her pleadings in the cloth of a different

claim. Pretext is not tolerated.” 33

       While it is clear that a municipal court cannot award injunctive relief,

plaintiffs indisputably had the opportunity to challenge the sufficiency of due

process in connection with their municipal court proceedings and the officials and

judges involved therein, and to seek further review in the state court system,

which challenge is central to the federal claims asserted by plaintiffs in this action.

Indeed, in Tumey, Ward, and Dugan, the seminal United States Supreme Court

decisions establishing the applicable legal standards on which plaintiffs’ federal

claims are premised, each of the criminal defendants properly asserted their



       31 Goodman ex rel. Goodman v. Sipos, 259 F.3d 1327, 1333 (11th Cir. 2001).
       32 Id.
       33 May, 878 F.3d at 1005.




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respective due process challenges in their underlying state court proceedings,

which were thereafter properly appealed through the state court system until final

review by the United States Supreme Court. 34 None of those state court cases

involved a separate federal action asking a federal district court to review the

sufficiency of due process afforded to them in municipal court. 35

      Plaintiffs also disregard the law in this Circuit and mistakenly represent that

“courts do not apply Rooker-Feldman to complaints seeking ‘only prospective

injunctive and declaratory relief that would prevent’ future unlawful acts.” 36

Based on a minimal and cursory review of relevant case law from the Eleventh



      34  Casale v. Tillman, 558 F.3d 1258, 1260 (11th Cir. 2009) (“[T]he Rooker–
Feldman doctrine bar[s] federal court review of state court final judgments—a
function reserved in the federal system for the United States Supreme Court.”).
       35 Tumey v. State of Ohio, 273 U.S. 510, 515 (1927) (criminal defendant “moved

for his dismissal because of the disqualification of the mayor to try him under the
Fourteenth Amendment”); Ward v. Village of Monroeville, Ohio, 409 U.S. 57, 57–58
(1972) (reviewing state supreme court’s denial of defendant’s appeal of conviction
by mayor “who also had responsibilities for revenue production and law
enforcement denied him a trial before a disinterested and impartial judicial officer
as guaranteed by the Due Process Clause of the Fourteenth Amendment”); Dugan
v. State of Ohio, 277 U.S. 61, 62 (1928) (reviewing state supreme court’s denial of
defendant’s appeal of conviction based on “question of the constitutional
impartiality of the mayor to try the case”); In Focus Entertainment Intern., Inc. v.
Bailey, 256 Ga. App. 283, 283 (2002) (issue of due process challenge was not
preserved on appeal of municipal court judgment because plaintiff failed to
preserve available challenge by asserting it in the municipal court).
       36 (Doc. 20, p. 25).




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Circuit, it is abundantly clear that “the Rooker–Feldman bar applies to [a plaintiff’s]

request for injunctive relief in addition to its request for declaratory relief.” 37

Plaintiffs‘ frivolous and conclusory assertions to the contrary are without

foundation in law or fact. Because plaintiffs’ claims are barred by Rooker-Feldman,

the complaint should be dismissed for lack of subject matter jurisdiction.

      C. Plaintiffs fail to plausibly allege a Fourteenth Amendment due process
         claim.

      It is respectfully submitted that Doraville’s motion to dismiss should be

granted for failure to state a plausible violation of the Fourteenth Amendment

pursuant to Rule 12(b)(6). Plaintiffs do not identify any code or law enforcement

officer, prosecutor, or municipal court judge who personally received any financial

benefit arising from plaintiffs’ municipal court prosecutions and convictions.

They do not identify any individual officer, prosecutor, or judge who violated their

federal rights in connection with said proceedings. They do not identify any

individual member of Doraville’s city council who was vested with any executive




      37  Blue Cross and Blue Shield of Maryland, Inc. v. Weiner, 868 F.2d 1550, 1556
(11th Cir. 1989) (“Both the Supreme Court and this court have dismissed injunctive
relief claims under the Rooker–Feldman doctrine.”); Mickens v. Tenth Judicial Circuit,
181 F. App'x 865, 874–75 (11th Cir. 2006) (citing Weiner, 868 F.2d at 1556) (“Indeed,
we have explained that the Rooker–Feldman doctrine can bar injunctive relief as
well as other forms of relief.”).

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duties related to the city’s finances and involved in preparing, balancing, or

administering the city’s financial budget who was or will in the future also be

involved in the prosecution and adjudication of any and, or who received any

direct financial benefit from receipt by the city of any fines and fees imposed in

plaintiffs’ cases. There is no plausible allegation that any particular officer,

prosecutor, or judge was acting under any actual or perceived threat of losing their

job or losing any other benefit if they did not meet the city council’s budgetary

expectations in this regard.

       Simply put, the Supreme Court’s analysis in Dugan v. Ohio is directly

applicable and establishes that plaintiffs’ failure to state a plausible claim for relief

in this case, under the Fourteenth Amendment or otherwise, subjects their

complaint to dismissal. Because plaintiffs fail to allege a plausible claim for relief,

Doraville’s motion to dismiss is well founded and it is respectfully asserted that it

should be granted.

III.   CONCLUSION

       For all of the foregoing reasons, and the reasons advanced in Doraville’s

original memorandum of law in support of its motion to dismiss, this defendant

respectfully prays that Doraville’s motion be sustained and granted pursuant to

Rules 12(b)(1) and 12(b)(6); that the present complaint be dismissed; that Doraville

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recover its costs; and that Doraville be granted such relief and such other and

further relief as this Court deems just and proper in the circumstances.

      The undersigned, in accord with L.R. 7.1 and 5.1(b) hereby certifies that the

type font used herein is 13-Point Book Antiqua font.

      This 13th day of August, 2018.

                                       /s/ Harvey S. Gray
                                       Harvey S. Gray
                                       Georgia Bar No. 305838

                                       /s/ Dianna J. Lee
                                       Dianna J. Lee
                                       Georgia Bar No. 163391
                                       Attorneys for Defendant City of Doraville

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                            CERTIFICATE OF SERVICE

      I hereby certify that I have this date electronically filed the foregoing

DEFENDANT CITY OF DORAVILLE’S BRIEF IN REPLY TO PLAINTIFFS’

OPPOSITION TO ITS MOTION TO DISMISS with the Clerk of the Court using

the CM/ECF system which will automatically send email notification of such

filing to all counsel of record in this action.

      This 13th day of August, 2018.

                                         /s/ Dianna J. Lee
                                         Harvey S. Gray
                                         Georgia Bar No. 305838
                                         Dianna J. Lee
                                         Georgia Bar No.163391
                                         Attorneys for Defendant City of Doraville

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